             Case 19-05945                Doc       Filed 05/29/19         Entered 05/29/19 14:56:19                         Desc Main
                                                        Document           Page 1 of 5
Fill in this information to identify the case:

Debtor 1                   Terrell D. Thomas
Debtor 2                   Annette L. Thomas
(Spouse, if filing)


United States Bankruptcy Court for the:                   Northern          District of      Illinois
                                                                                          (State)

Case number              19-05945



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                               12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against debtor’s principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

      Name of creditor:        Ocwen Loan Servicing, LLC as servicer for Deutsche                   Court claim no. (if known):   6
                               Bank National Trust Company, as Indenture Trustee
                               for Argent Mortgage Loan Trust 2005-W1, Asset-
                               Backed Notes Series 2005-W1


      Last 4 digits of any number you use to
      Identify the debtor’s account:                 1144

      Does this notice supplement a prior notice of postpetition fees,
      expenses, and charges?
       No
       Yes. Date of the last notice: _____/_____/_____



Part 1:               Itemize Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.

         Description                                                      Dates incurred                                     Amount
1.       Late Charges                                                                                                 (1)
2.       Non-sufficient funds (NSF) fees                                                                              (2)
                                                                          $150.00 03/13/19 (Plan Review);
                                                                          $500.00 03/15/19 (Plan
                                                                          Objection); $150.00 05/29/19
3.       Attorney Fees                                                    (Post-Petition Fee Notice);                 (3)    $800.00
4.       Filing fees and court costs                                                                                  (4)
5.       Bankruptcy/Proof of claim fees                                                                               (5)
6.       Appraisal/Broker’s price opinion fees                                                                        (6)
7.       Property inspection fees                                                                                     (7)
8.       Tax Advances (non-escrow)                                                                                    (8)
9.       Insurance advances (non-escrow)                                                                              (9)
         Property preservation expenses.
10.      Specify:________________                                                                                     (10)
         Other.
11.      Specify:_____________________________________                                                                (11)
         Other.
12.      Specify:_____________________________________                                                                (12)
         Other.
13.      Specify:_____________________________________                                                                (13)
         Other.
14.      Specify:_____________________________________                                                                (14)

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1


Official Form 410S2                            Notice of Postpetition Mortgage Fees, Expenses, and Charges                               page 1
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Debtor 1               Terrell D. Thomas                                                    Case number (if known)   19-05945
                      First Name      Middle Name         Last Name



Part 4:         Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best
of my knowledge, information, and reasonable belief.




                  x     /s/ Peter C. Bastianen                                                     Date        5/29/2019
                        Signature



Print                   Peter C. Bastianen                                                         Title      Attorney for Creditor
                        First Name          Middle Name               Last Name



Company                 Codilis & Associates, P.C.


Address                 15W030 North Frontage Road, Suite 100
                        Number         Street

                        Burr Ridge                        IL               60527
                        City                               State           ZIP Code



Contact phone           (630) 794-5300                                                             Email      ND-One@il.cslegal.com

                                                                                                                                       File #14-18-07564




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B 10 (Supplement 2) (12/11)




                                                CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that I have served a copy of this Notice upon the parties
listed below, as to the Trustee and Debtor's attorney via electronic notice on May 29, 2019 and as to the
debtor by causing same to be mailed in a properly addressed envelope, postage prepaid, from 7140 Monroe
Street, Willowbrook, IL 60527 before the hour of 5:00 PM on May 30, 2019.

Marilyn O. Marshall, Chapter 13 Trustee, 224 S Michigan, Ste 800, Chicago, IL 60604 by electronic notice
through ECF
Terrell D. Thomas, Annette L. Thomas, Debtor(s), 21206 Alessandra Dr., Matteson, IL 60443
David M Siegel, Attorney for Debtor(s), 790 Chaddick Drive, Wheeling, IL 60090 by electronic notice
through ECF
Office of U.S. Trustee, 219 S. Dearborn St., Room 873, Chicago, IL 60604 by electronic notice through ECF




                                                            /s/ Peter C. Bastianen


Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Brenda Ann Likavec ARDC#6330036
Grant W. Simmons ARDC#6330446
Codilis & Associates, P.C.
15W030 North Frontage Road, Suite 100
Burr Ridge, IL 60527
(630) 794-5300)
FILE #(14-18-07564)

NOTE: This law firm is a debt collector.
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                                                  PERSONAL INFORMATION REDACTED
Invoice #                                                                                  INVOICE DATE: 03/15/2019

Invoice Submitted By:                                          Order Information:
Codilis and Associates - Codilis and Associates                Order #:
15                                                             Order Date: 03/07/2019
W030 North Frontage Rd. SUITE 100                              Order Type: Reorganization Plan
Burr Ridge IL 60527                                            Loan #:
630-241-4300                                                   Property Address: 15201 Drexel Ave, South Holland, IL 60473
Vendor ID #



Invoice Submitted To:                                          Payment Information:
Ocwen Loan Servicing,                                          Confirmation #:
1661 Worthington Rd. Suite 100,                                Method: ACH
West Palm Beach, FL 33409                                      Payment Date: 03/28/2019
561-682-8000



LINE #       EXPENSE CODE         CATEGORY CODE        DESCRIPTION                      SERVICE DATE             AMOUNT
                                                       Review of Plan and Notice of
1            FB42                 FB4212                                                03/13/2019                              $150.00
                                                       Appearance-(Rec from Brwr)
                                                                               Total:                                        $150.00



Plan Review: Recoverable provided you file any required
post-petition fee notice within 180 days of the charge being
incurred in accordance with BK Rule 3002.1.




Invoice management powered by:                                                                            05/23/2019 07:02:48 UTC Status: Approved
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                                                  PERSONAL INFORMATION REDACTED
Invoice #                                                                                 INVOICE DATE: 03/18/2019

Invoice Submitted By:                                          Order Information:
Codilis and Associates - Codilis and Associates                Order #:
15                                                             Order Date: 03/07/2019
W030 North Frontage Rd. SUITE 100                              Order Type: Reorganization Plan
Burr Ridge IL 60527                                            Loan #:
630-241-4300                                                   Property Address: 15201 Drexel Ave, South Holland, IL 60473
Vendor ID #



Invoice Submitted To:                                          Payment Information:
Ocwen Loan Servicing,                                          Confirmation #:
1661 Worthington Rd. Suite 100,                                Method: ACH
West Palm Beach, FL 33409                                      Payment Date: 03/28/2019
561-682-8000



LINE #       EXPENSE CODE         CATEGORY CODE        DESCRIPTION                     SERVICE DATE              AMOUNT
                                                       Objection to Confirmation-
1            FB42                 FB4204                                               03/15/2019                               $500.00
                                                       (Recoverable from Borrower)
                                                                              Total:                                         $500.00



OBJ: Recoverable provided you file any required post-
petition fee notice within 180 days of the charge being
incurred in accordance with BK Rule 3002.1.




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